      Case 1:12-cr-00299-LJO-SKO Document 89 Filed 05/15/13 Page 1 of 2


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 4   Attorney for Defendant, CHRISTOPHER GALLEGOS
 5
 6                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,   )                CASE NO. 1:12-CR-00299-LJO-SKO
 9                               )
          Plaintiff,             )
10                               )                STIPULATION AND
        v.                       )                ORDER TO CONTINUE
11                               )                STATUS HEARING
     CHRISTOPHER GALLEGOS,       )
12                               )
           Defendant.            )
13   ____________________________)
14         The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing in this matter, currently calendared for June 3, 2013 at
16   8:30 a.m., be continued to June 17, 2013 at 8:30 a.m. before the Hon. Lawrence
17   J. O’Neill.
18         The continuance is necessitated by the need to interview Mr. Gallegos, who
19   is housed at the Lerdo facility, in order that he may receive the benefit of U.S.S.G.
20   § 5C1.2. A “safety valve” interview has been scheduled for June 3, 2013, the
21   earliest date at which the appropriate authorities are available to meet with Mr.
22   Gallegos.
23         The continued sentencing date would result in the following revision of
24   deadlines related to the rescheduled sentencing hearing:
25         Objections Due to Probation & AUSA by May 27, 2013, and Objections Fiiled
26   With Court and Served on USPO and AUSA by June 10, 2013.
27         The parties also agree that any delay resulting from this continuance shall
28   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),

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      Case 1:12-cr-00299-LJO-SKO Document 89 Filed 05/15/13 Page 2 of 2


 1   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 2
     DATED: May 15, 2013                /s/ Karen Escobar                __
 3                                      KAREN ESCOBAR
                                        Assistant United States Attorney
 4                                      This was agreed to by Ms. Escobar
                                        in person on May 13, 2013
 5
 6   DATED: May 15, 2013                /s/ Roger K. Litman    __
                                        ROGER K. LITMAN
 7                                      Attorney for Defendant
                                        CHRISTOPHER GALLEGOS
 8
     IT IS SO ORDERED.
 9
     Dated:   May 15, 2013             /s/ Lawrence J. O'Neill   B9ed48
10                                     UNITED STATES DISTRICT JUDGE
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